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                                                                     CIRCUIT COURT OF
                                                               MONTGOMERY COUNTY, ALABAMA
                                                                   GINA J. ISHMAN, CLERK
     IN THE CIRCUIT COURT OF MONTGOMERY COUNTY, ALABAMA

SHA'OLA TERRELL, an                           )
Individual;                                   )
                                              )
        Plaintiff,                            )
                                              )
v.                                            )          CIVIL ACTION NO.
                                              )
                                              )
ALABAMA STATE UNIVERSITY,                     )
                                              )    JURY TRIAL DEMANDED
        Defendant.                            )

                                   COMPLAINT

        COMES NOW the Plaintiff, Sha'ola Terrell (hereinafter "Plaintiff'), by and

through the undersigned, and hereby files this lawsuit against Alabama State

University (hereinafter "Defendant") pursuant to The Equal Pay Act ("EPA"), 29

U.S.C. Section 206(d) and the Clarke Figures Equal Pay Act ("CFEPA").

                              NATURE OF ACTION

        Plaintiff brings this action to redress grievances resulting from acts of

Defendant, its agents, servants, board members, and employees with respect to

Plaintiffs employment; and for a permanent injunction restraining Defendant from

maintaining a policy and practice of discriminating against the Plaintiff and other

persons similarly situated on account of gender. The Complaint describes

Defendant's unlawful employment practices and acts of intentional discrimination


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which took place during the Plaintiffs employment. Plaintiff seeks injunctive relief

and along with monetary relief, consisting of, but not limited to, compensatory and

punitive damages, attorneys' fees and costs.

                                    PARTIES

      1.    Plaintiff Sha'ola Terrell (hereinafter "Terrell") is an adult who resides

in the state of Alabama.

      2.    Defendant Alabama State University ("ASU") is located in

Montgomery, Alabama and is the site where the Plaintiff worked and the events

forming the subject of this lawsuit took place. ASU was the employer of the Plaintiff

during all relevant times within the meaning of EPA and CFEPA.

                           JURISDICTION AND VENUE

      3.    This Court has subject matter jurisdiction over this action pursuant to

the CFEPA. Venue is proper in this Court as the events forming the basis of this

lawsuit took place in Montgomery.

                            STATEMENT OF FACTS

      4.    The Plaintiff is a female · who was previously employed by the

Defendant in their Athletic Department. She served the position of Sr. Associate

Athletic Director with SWA designation.

      5.    Prior to joining ASU in October 2018, the Plaintiff had years of

experience at both ASU and Troy University in their athletics department along with


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years of managerial experience. The Plaintiff holds a master's degree in Sport

Management Administration from Troy University. She earned a 3.9 G.P.A. for her

graduate degree, also from Troy University, where she played and lettered in

women's basketball.

      6.     The Plaintiff was highly qualified and successful performing roles that

have historically been held by males. Despite performing the same duties as males

in the same position, or similarly situated positions, the Plaintiff, a female, was not

paid the same as her male counter-parts. In fact, the Plaintiff held the SWA

designation which was given to a woman. The designation carried with it additional

responsibilities which Plaintiff fulfilled. Defendant refused to pay Plaintiff the SWA

stipend of $15,000 she was entitled. Not only did they refuse to pay Plaintiff this

female designated stipend they also refused to pay Jennifer Williams the same when

she held the designation.

      7.     The Plaintiffs job responsibilities included but was not limited to:

      Internal Operations

      Summary: Provided oversight of all internal units which included:

      Compliance, Academics, Equipment, Business &Finance, Strength &

      Conditioning, Operations, Sports Medicine, Human Resources

      Note: Because of the structure the executive staff and the difference in

      Internal/External Units that needed management, the Athletic Director


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  assigned HR & Sports Medicine daily duties to the Deputy Director with

  Plaintiff assisting where needed. (8 internal units vs. 3 external units).

  Compliance: ASU was on probation for multiple violations upon Plaintiff's arrival. The

  Plaintiff worked diligently and successfully got the probation sanction lifted and restored

  the institution to its full NCAA membership rights and privileges. A task that should've been

  completed years prior to her arrival. Upon her arrival, there were only two staff


  members in the compliance area with only one being full-time. Once they

  departed from the institution, Plaintiff was the only one remaining for a period

  of time. Because of its importance, Plaintiff revamped the unit, wanting to

  make it as strong and efficient as possible. In addition, ASU was on probation

  prior to Plaintiffs arrival and part of the conditions that were sanctioned by

  the NCAA was that the institution needed two to three full time employees

  within that unit. Plaintiff hired a compliance coordinator, Assistant Athletic

  Director of Compliance and Compliance Intern to satisfy the sanctions and

  provided quality coverage of the unit.

  Academics Services

  Personnel changes took place in this unit as well, which left one staff member.

  Because of ASU's history with academic issues, it was important to Plaintiff

  and A.D. Williams to have a full staff within this unit as well. Plaintiff hired

  an Assistant Athletic Director of Academics, Assistant Director of Academic



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  Services and two additional full time advisors, along with a host of tutors and

  monitors.

  Business & Finance

  There was no personnel completing business functions .from a managerial

  perspective. In addition, there were no business procedures for the department

  to conduct daily business. Plaintiff created and implemented all business

  processes to ensure accurate record keeping, accountability and strategic

  planning to ensure the department was operating within the limits of the

  budget. Plaintiff served as the liaison to all cross- campus business

  departments.

  Equipment

  Plaintiff hired an equipment coordinator for the department as there was only

  one equipment manager, assigned specifically for one sport. This left the other

  seventeen sports without assistance. In addition, Plaintiff created processes

  both internally and externally to ensure a smooth workflow of business

  practices.· Also, Plaintiff managed all aspects of the Department's contract

  with its' equipment providers, Adidas and its subsidiaries vendors which

  included, contract negotiations, product updates, shipping and receiving

  procedures, regional & national meetings, etc.




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  Strength & Conditioning

  Plaintiff expanded the roster of staff from two full time staff members to three

  full time with interns. In addition, the unit functioned as a support unit of one

  program, but its intent is to provide services to all eighteen programs. With

  the revision of the unit's duties and reporting structure, all eighteen programs

  began getting service from the Strength & Conditioning unit.

  Senior Woman Administrator

  Plaintiff served as the SWA of the department from October 2018 until her

  separation from the institution. The designation was to be accompanied with

  a $15k annual stipend for performing the duties. Plaintiff performed all SWA

  duties and· beyond which included but was not limited to: attendance all

  conference and NCAA meetings, conferences and events, completed all

  conference and NCAA reports, attended conference championships as a

  conference SWA liaison, served on conference committees to further grow

  the membership, created student-athlete development program within the

  department, created mental health outlets for all student-athletes, served as

  title IX advocate for all student athletes, created gender equity plans for both

  staff and student-athletes in support of the overall strategic plan for the

  department.




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      Executive Staff Member

      Plaintiff provided direct supervision for 8 of the 18 programs within the

      department. She assisted with securing financial donors, negotiated game

      contracts, made public appearances on behalf of the Athletic Director, acted

      as a liaison to various external partners, provided recommendations to the

      Athletic Director on all aspects of the department. She also completed other

      various duties as assigned.

      8.     The work environment at ASU was ridiculed with inappropriate

comments and behaviors by male trustees regarding females, including but not

limited to: males were paid more for less responsibility; a male trustee banged on

tables in front of Plaintiff and other female staff as a show of authority and

dominance over the females while another male trustee allowed the conduct to occur

and continue; male trustee commented that females in the Athletic Department need

to wear more revealing clothing to get more money raised, and other derogatory and

offensive comments.

      9.     Another male within the Athletic Department who served a similar

position, was paid more than Plaintiff despite having Plaintiff having more

responsibilities. Both were Associate Athletic Director positions.




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       10.   Despite her success, experience, workloads, Plaintiff was paid less than

ASU male employees who performed the same, or substantially the same work in

similar positions requiring similar skill, effort, responsibility and education.

       11.   For instance, the current Athletic Director, a male, is paid more than the

previous female (Jennifer Williams) yet lacks her success, education and

qualifications. The current Athletic Director is paid an estimated $170,000 while the

Plaintiff was paid $135,000. Ms. Williams also held the SWA designation but ASU

again refused to pay Williams the stipend that is due by virtue of the designation.

       12.   Defendant has a pattern and practice of paying females less than their

male counterparts. Based on information and belief, other examples of gender

inequality in pay by the Defendant include but are not limited to: Wanda Smith

(female CFO) was paid $135,000 while the male CFO, Bill Hopper, is paid

$175,000; former VP of Student Affairs DaVida Haywood received $135,000 while

her male counterpart Derrick Brewster was paid significantly more; President Boyd

was paid $25,000 less than her predecessor Joseph Silver; Assistant Vice President

of Human Resources Derrick Carr was paid more than his female counterpart Willie.

       13.   Plaintiff suffered unequal pay and benefits in the form of front and back

pay.

       14.   When Plaintiff complained, she faced harassment, violent outbursts by

board members and others, and other retaliatory responses, which caused the


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Plaintiffs mental anguish, loss of career opportunities, termination, worry, and

emotional injury.

       15.   This action is brought pursuant to the EPA and CFEPA to obtain

equitable and injunctive relief and to remedy Defendant's violations. As a result of

these violations, Defendant has deprived Plaintiff of her lawful wages, benefits and

caused Plaintiff to suffer injuries and damages.

                                 CAUSE OF ACTION

              COUNT ONE - VIOLATION OF EQUAL PAY ACT

       16.   Plaintiff adopts all preceding paragraphs of this Complaint as if fully

set forth herein.

       17.    Plaintiff is female and a member of a protected group.

       18.    Plaintiff was paid lower wages than her male counterparts in violation

of the Equal Pay Act of 1963. The Plaintiff has access to information which reflects

she was      paid less    than      similarly       situated male   employees   who   are

performing/performed substantially the same work with the same education, skill

and tenure. Defendant also refused to pay Plaintiff the $15·,ooo due her for

maintaining her SWA designation - a female designation that put more

responsibilities on the designee.

       19.    The basis for the disparity in wages between the Plaintiff and her male

counterparts is Plaintiffs gender in violation of the Equal Pay Act of 1963.


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      20.    This disparate treatment was caused by purposeful, willful or

intentional discrimination.

      21.    As a proximate result of ASU' s unlawful intentional discrimination, the

Plaintiff suffered financial loss, economic loss, loss of employment, shame,

humiliation, emotional distress, trauma, worry, anxiety, and other damages.

      22.    Plaintiff seeks declaratory and injunctive relief, award of lost

employment and career benefits and wages, back and front pay, interest,

compensatory damages for loss of career opportunity, humiliation, embarrassment,

mental anguish, costs, attorneys' fees, punitive damages and any and all such other

relief the trier of fact may assess.

       23.   At all times relevant to this action, Defendant was the "employer" of

Plaintiff as defined by the Equal Pay Act of 1963.

       24.   At all times material to this action, Plaintiff was an "employee" of

Defendant as defined by the Equal Pay Act of 1963, and they worked for Defendant

within the United States within appropriate years preceding the filing of this lawsuit.

       25.    Defendant has a pattern and practice of paying females less than their

male counterparts. Other examples of gender inequality in pay by the Defendant

includes but is not limited to: Wanda Smith (female CFO) was paid $135,000 while

the male CFO, Bill Hopper, is paid $175,000; former VP of Student Affairs DaVida

Haywood received $135,000 while her male counterpart Derrick Brewster was paid


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significantly more; President Boyd was paid $25,000 less than her predecessor

Joseph Silver; Assistant Vice President of Human Resources Derrick Carr was paid

more than his female counterpart Willie.

                      COUNT TWO- VIOLATION OF THE
                     CLARKE-FIGURES EQUAL PAY ACT

      26.     Plaintiff adopts all preceding paragraphs of this Complaint as if fully

set forth herein.

      27.     Plaintiff is female and a member of a protected group.

      28.     Plaintiff was paid lower wages than her male counterparts in violation

of the Clarke Figures Equal Pay Act. The Plaintiff has access to information which

reflects she was paid less than similarly situated male employees who are

performing/performed substantially the same work with the same education, skill

and tenure.

      29.     The basis for the disparity in wages between the Plaintiff and her male

counterparts is Plaintiffs gender in violation of the Clarke Figures Equal Pay Act.

       30.    This disparate treatment was caused by purposeful, willful or

intentional discrimination.

       31.    As a proximate result of ASU' s unlawful intentional discrimination, the

Plaintiff has suffered financial loss, economic loss, loss of employment, shame,

humiliation, emotional distress, trauma, worry, anxiety, and other damages.



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      32.    Plaintiff seeks declaratory and injunctive relief, award of lost

employment and career benefits and wages, back and front pay, interest,

compensatory damages for loss of career opportunity, humiliation, embarrassment,

mental anguish, costs, attorneys' fees, punitive damages and any and all such other

relief the trier of fact may assess.

       33.   At ~11 times relevant to this action, Defendant was the "employer" of

Plaintiff as defined by the Clarke Figures Equal Pay Act.

       34.   At all times material to this action, Plaintiff was an "employee" of

Defendant as defined by the Clarke Figures Equal Pay Act, and she worked for

Defendant within Alabama within appropriate years preceding the filing of this

lawsuit.

       35.    Defendant has a pattern and practice of paying females less than their

male counterparts. Other examples of gender inequality in pay by the Defendant

includes but is not limited to: Wanda Smith (female CFO) was paid $135,000 while

the male CFO, Bill Hopper, is paid $175,000; former VP of Student Affairs DaVida

Haywood received $135,000 while her male counterpart Derrick Brewster was paid

significantly more; President Boyd was paid $25,000 less than her predecessor

Joseph Silver; Assistant Vice President of Human Resources Derrick Carr was paid

more than his female counterpart Willie.




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                           COUNT THREE- RETALIATION

      36.     Plaintiff adopts all preceding paragraphs of this Complaint as if fully

set forth herein.

       37.    As a result of Plaintiffs vocalization about the work environment, poor

business practices, retaliatory culture, harassment and pay disparities, Plaintiff was

terminated.

       38.    The termination violated the Equal Pay Act and the Clarke Figures

Equal Pay Act which specifically prohibit retaliation in response to reporting.

       39.    Plaintiff has suffered embarrassment, economic damages, damage to

reputation, emotional distress, anxiety, worry and loss of access to other positions

and promotion, damage to reputation, and other damages.

       40.    Plaintiff seeks any and all damages she may be entitled under these

present circumstances.

       WHEREFORE, Plaintiffs pray for the following relief:

       A.     Grant a permanent injunction enjoining Defendant, its officers, board

              members, trustees, successors, assigns and all persons in active concert

              or participation with it, from engaging further in its discriminatory

              treatment.

       B.     Order Defendant to institute and carry out policies, practices and

              programs      which   provide    equal   provisions   and   employment


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            opportunities for all employees, and which eradicate the effects of its

            past   and    present   unlawful   employment    practices,    including

            implementing a policy against discrimination;

     C.     Order Defendant to make Plaintiff whole by providing appropriate

            affirmative relief necessary to eradicate the effects of its unlawful

            employment practices, including but not limited to, compensatory and

            punitive damages;

     D.     Award Plaintiff their costs and expenses herein, including a reasonable

            attorney fee; and

      E.    Award such other and further relief which this Court deems necessary

            and proper.

      Respectfully submitted on this the 4th day of January 2022.




                                                  Isl Jamie A. Johnston

                                                  Jamie A. Johnston
                                                  Attorney for Plaintiff
OF COUNSEL:

Jamie A. Johnston, P.C.
509 Cloverdale Road, Suite 101
Montgomery, Alabama 36106
334.202.9228
334.265.8789 - facsimile
jamie@jjohnstonpc.com


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MAILING ADDRESS:
PO Box4663
Montgomery, Alabama 36103




                        JURY TRIAL DEMANDED

     A jury demand is hereby made for all claims.

                                           Isl Jamie A. Johnston

                                           Jamie A. Johnston




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